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             United States Court of Appeals
                           For the First Circuit


 No. 19-1871

                                   JOHN DOE,

                            Plaintiff, Appellee,

                                       v.

                        TRUSTEES OF BOSTON COLLEGE,

                           Defendant, Appellant.


              APPEAL FROM THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS

            [Hon. Douglas P. Woodlock, U.S. District Judge]


                                    Before

                         Lynch, Boudin, and Lipez,
                              Circuit Judges.


      Daryl J. Lapp, with whom Elizabeth H. Kelly and Locke Lord
 LLP were on brief, for appellant.
      Jeannie Suk Gersen, with whom Andrew T. Miltenberg, Stuart
 Bernstein, Tara J. Davis, and Nesenoff & Miltenberg, LLP were on
 brief, for appellee.


                              November 20, 2019
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              LYNCH, Circuit Judge.         This is an expedited appeal from

 entry of a preliminary injunction based on a Massachusetts law

 contract     claim.     The    preliminary      injunction     prohibited     the

 Trustees of Boston College ("BC") from imposing a suspension of

 one year on student John Doe, who was found after extensive

 investigation by BC to have engaged in sexual assault in the form

 of a nonconsensual penetration of a female student, Jane Roe.                 Roe

 filed a disciplinary complaint against Doe under BC's Student

 Sexual Misconduct Policy, and the suspension decision was the

 outcome of the procedures set forth in that Policy.

              The district court found Doe had shown a probability of

 success on the merits of the state law claim of violation of a

 contractual obligation of basic fairness.             It ruled on this state

 law question primarily by reference to a decision of this court

 concerned with the requirements of the federal due process clause

 as to a public university.           It is quite clear, and the parties do

 not dispute, that federal due process law does not dictate to

 states the procedures which its private colleges must follow in

 administering student discipline.

              Massachusetts     law    as   it   currently     stands   does   not

 require the college discipline process Doe says must be a part of

 a contractual obligation of basic fairness.                 To the extent the

 district court was, without expressly saying so, attempting to

 base   its   ruling   on   a   prediction       of   future   developments    in


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 Massachusetts contract law, it also erred.                Any such future

 developments are up to the state courts and legislature, not the

 federal courts.

             For the reasons more fully stated below, we hold the

 district court erred in finding a probability of success as to

 Doe's claim under Massachusetts contract law and erred in granting

 the injunction. We now reverse, vacate the injunction, and remand.

 We describe the pertinent facts, procedures followed, and history

 of the litigation.

                                       I.

 A.    Background

             The parties agree that the contract involved is found in

 BC's Student Sexual Misconduct Policy ("the Policy"), which was

 incorporated into its 2018-2019 Student Guide. That policy defines

 conduct subject to discipline.             It provides, in relevant part,

 that "sexual misconduct" includes "sexual assault," which is "any

 sexual    contact   or   sexual   penetration    with   another   individual

 without consent."        "Consent" is defined in relevant part as "the

 clear and voluntary agreement to engage in particular sexual

 activity."1    Doe does not dispute that a school may discipline a

 student responsible for sexual assault.



       1   The Policy lists circumstances when an individual cannot
 give consent, including when an individual "[i]s incapacitated,
 including through the consumption of alcohol or drugs."


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                  The event at issue in this case is Roe's claim that Doe

 sexually assaulted her, by penetration to which she had not

 consented, in the early morning of November 4, 2018.                    Without

 disputing that the sexual interaction occurred, Doe contended that

 it was at all times consensual.

                  Doe's challenge is to the adequacy of the procedures set

 forth in the Policy, alleging that some form of cross-examination

 of the accuser must be provided before any conclusion can be

 reached.         We describe those procedures, which were followed in

 this case.

                  The Policy defines in detail the processes for the

 college to follow once a sexual misconduct complaint is filed.2

 When a sexual misconduct complaint is made, the Policy provides

 that       one    or   more   internal    or     external   investigators   must

 investigate by interviewing the parties and other witnesses and

 gathering any other relevant evidence.                 The investigators must

 give all parties an opportunity to present written statements,

 identify witnesses, submit evidence, and review and respond to




        2  The processes used to respond to sexual misconduct
 complaints differ from those used for other Code of Student Conduct
 violations.    BC adopted the processes for sexual misconduct
 violations in 2014 "with the intent of making the reporting of
 assaults more easily available to members of the community." BC
 says that, in its experience since the adoption of the policy, it
 believes this goal has been facilitated.


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 evidence.     Both complainant and respondent may select an adviser

 to be present at any meeting related to the reported misconduct.

             Here, the investigators followed the iterative process

 described in the Policy.       BC used two investigators: an assistant

 dean at BC and an external investigator.              The accuser Roe was

 questioned at length on three occasions, the second two building

 on the information provided by the accused in his interviews, as

 well   as   information     drawn   from    interviews    with    others    and

 documentary    evidence.       Investigators     probed   her    account    for

 detail, and she was asked to clarify ambiguities.           The accused was

 questioned on two occasions, following and building on information

 obtained both from the accuser and the accused and on other

 information. Doe, the accused, was represented by counsel at all

 relevant    times.     Roe,   the   accuser,    was   accompanied    at    each

 interview by a "support person."

             After each time the complainant and respondent were

 interviewed, each was provided a written summary of his or her own

 interview and given five days to review it and provide comments to

 the investigators.        At each stage, both Doe and Roe submitted

 written comments on the summary of each interview.              Investigators

 conducted the next interview before receiving comments from either

 on the summary of the previous interview.             The Policy does not

 provide either the complainant or the respondent an opportunity

 for cross-examination of the parties or of other witnesses.


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             Once    the   investigators       gathered      the    evidence,       the

 complainant and respondent were given an opportunity to review

 that evidence and submit further comments. Here, at the conclusion

 of the investigation, both Doe and Roe were allowed to review an

 Evidence Binder of all of the evidence gathered, including the

 interview summaries, and provide further comments.                 Doe did so and

 submitted a further comment document of seventeen pages.                   Roe also

 did so.

             After    receipt    of    those    comments,     the   investigators

 prepared a written report that determined, using a preponderance

 of the evidence standard, whether Doe violated the Policy.                     Here,

 the investigators' final report spanned sixty-three single-spaced

 pages.    It described in great detail the steps the investigators

 followed and the evidence they gathered.                   The report addressed

 each    party's    statements   and    arguments      at    each   stage      of   the

 investigation, included detailed factual support for each of its

 conclusions, and explained the reasons for each of its credibility

 determinations.

             The report concluded that several of Doe's statements

 about the alleged sexual misconduct lacked credibility. The report

 noted that some of Doe's statements were inconsistent between his

 two    interviews    by   investigators       and   that    some   of   his    later

 statements were implausible in light of his earlier statements.

 The report also noted that some statements and actions Doe alleged


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 as evidence of Roe's consent occurred after sexual penetration and

 so could not have provided consent for that act.

             The    report   credited     Roe's   version     of   the   facts

 concerning crucial aspects of the sexual encounter and her lack of

 consent for sexual penetration.          It found that Roe's statements

 were supported by the weight of the evidence and corroborated by

 her contemporaneous messages to friends.

             The report found that, although Roe's "words and actions

 . . . conveyed clear and voluntary consent" for the initial part

 of her sexual encounter with Doe, Doe's penetration of Roe occurred

 "without having obtained her consent to do so."            The report found

 Doe responsible for violating the Policy.

             The investigators submitted the report to the Office of

 the Dean of Students and the Student Affairs Title IX Coordinator,

 who, in accordance with the Policy, determined the appropriate

 sanctions based on the report's finding of responsibility.                  On

 June 18, 2019, on the basis of the report, the two offices imposed

 a one-year suspension on Doe, to take effect immediately.

             After the two offices' determination of appropriate

 sanctions, the respondent has the right of appeal, but an appeal

 is limited as to what may be argued.          The decision of the Appeals

 Officer, who is appointed from the Office of Dean of Students, is

 then final.       On June 27, 2019, Doe appealed BC's decision.           The

 Appeals Officer denied the appeal on July 24, 2019.


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 B.    Litigation History

             On July 29, 2019, Doe filed suit against BC in the U.S.

 District Court for the District of Massachusetts, alleging various

 state law claims and a claim for violation of Title IX, and moved

 for a preliminary injunction staying his suspension.

             The district court granted Doe's motion for preliminary

 injunction,    finding    a   substantial    likelihood    that   Doe   would

 succeed on his claim that BC's disciplinary process deprived him

 of fair process in violation of Massachusetts contract law.3

             We set forth the reasoning used by the district court

 from the transcript of the preliminary injunction hearing.                The

 court opined that the core consideration was with "how it is that

 credibility determinations are made when we're dealing with claims

 of sexual misconduct."        It stated:

             Now, it's not cross-examination that I have in
             mind that's of a type that one used to see
             anyway in criminal cases, particularly rape
             cases. But it is the opportunity to observe
             together and ask questions with respect to the
             core issues. The . . . fundamental deficiency
             here that I see is that the BC process didn't
             provide . . . a mechanism for that. That's a
             fundamental deficiency in the wake of Haidak
             [v. Univ. of Mass.-Amherst, 933 F.3d 56 (1st
             Cir. 2019)], I believe.




       3   Issuance of the injunction was not based on Doe's
 allegation that BC violated Title IX or any of the other state law
 claims.


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 The court continued:

             John Doe and Jane Roe should be subject to
             some form of real-time examination with
             questions to come by their adversaries. It's
             not necessary that it be done in the way that
             it's done in the courtroom.          It's not
             necessary that it be done by lawyers for them
             or even by them themselves.     In fact, that
             might not be a good idea. But some mechanism
             for that real-time evaluation, it seems to me,
             is necessary; and in its absence, the process
             is deficient.

 And so it concluded:

             [T]his much is clear to me, that number one,
             a private institution like BC should follow
             practices that we'll call fair process that
             are parallel to due process claims against
             public institutions and that that fair process
             directs that when credibility of a central
             issue in a case such as this is presented, the
             process has to enable the factfinder to
             evaluate the credibility of the respective
             claims by a real-time process at which both of
             the respective parties are present and have
             the opportunity to suggest questions.     That
             wasn't provided here. And it is required I
             think   to   develop  a   fully   satisfactory
             process.4

             We will refer to the process the district court deemed

 necessary as "quasi-cross-examination in real time."              Though the

 components of that process were not specified in Doe's briefing,

 in response to questions at oral argument, counsel for Doe replied



       4   The court also separately and additionally found the
 review procedure inadequate, noting that "what we see in the
 appellate evaluation is basically a further deference to the role
 of the investigators without any critical analysis of what they've
 done."


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  that   the   claim   included    at    least      these   components:   (1) both

  complainant    and   respondent       and   their    representatives    must     be

  available at the same time for questioning by a "neutral," though

  not necessarily in the same room; (2) each must be informed of the

  exact statements of the other in real time, whether by transcript

  or some other means; (3) both the complainant and respondent must

  have the opportunity to submit questions to the "neutral," either

  orally or in writing, to be put to the other side; and (4) the

  "neutral" may be a hearing officer or may be an investigator.

  There is no contention that formal cross-examination such as takes

  place in criminal cases is required. Doe's position is that quasi-

  cross-examination in real time may be part of an investigative

  disciplinary    system,    and   does       not   require   that    there   be   an

  adjudicatory hearing.

                                         II.

  A.     Legal Analysis

               We review the district court's decision to grant a

  preliminary injunction for abuse of discretion.                OfficeMax, Inc.

  v. Levesque, 658 F.3d 94, 97 (1st Cir. 2011).                      We review its

  findings of fact for clear error and issues of law de novo.                  Id.

               The showing of a likelihood of success on the merits is

  the most important of the four preliminary injunction factors.

  Ross-Simons of Warwick, Inc. v. Baccarat, Inc., 102 F.3d 12, 16

  (1st Cir. 1996) ("Likelihood of success is the main bearing wall


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  of the four-factor framework.").        When this probability finding is

  made in error, the district court has abused its discretion and we

  are required to vacate the injunction.         See Withrow v. Larkin, 421

  U.S. 35, 46 (1975); New Comm Wireless Servs., Inc. v. SprintCom,

  Inc., 287 F.3d 1, 14 (1st Cir. 2002).

              Under Massachusetts breach of contract law as to private

  academic institutions, two tests are relevant to Doe's breach of

  contract claim.

        1.    Reasonable Expectations

              The first test looks at the terms of the contract

  established between the college and the student and asks whether

  the reasonable expectations of the parties have been met.             Schaer

  v. Brandeis Univ., 735 N.E.2d 373, 378 (Mass. 2000); Cloud v. Trs.

  of Bos. Univ., 720 F.2d 721, 724 (1st Cir. 1983).

              Although the district court did not base its conclusion

  of probability of success on this reasonable expectation theory,

  Doe nonetheless advances it on appeal.          Doe does not dispute that

  the Policy in fact governed BC's investigation and resolution of

  the complaint in this case.

              We    reject    Doe's    argument     that    his    reasonable

  expectations arising from the contract were that he would be given

  the opportunity to engage in quasi-cross-examination of Roe in

  real time.       Nothing in the contract provides any basis for the

  expectation.      Indeed, the contract procedures explicitly do not


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  provide for any such opportunity.             Given the Policy's plain

  description of BC's investigation process, Doe could not have

  reasonably expected to be allowed quasi-cross-examination in real

  time.

          2.   Basic Fairness

               The    district   court   instead    based     its   finding    of

  probability of success on the second test, that is, whether the

  procedures followed were "conducted with basic fairness."             Schaer,

  735 N.E.2d at 380 (quoting Cloud, 720 F.2d at 725).               The district

  court read this court's decision in Haidak as supporting its

  conclusion    that    the   Massachusetts   law   concept    of   fundamental

  fairness required a "real-time process at which both of the

  respective parties are present and have the opportunity to suggest

  questions."        In so concluding, in our view, the district court

  committed several errors of law, which require that the injunction

  be vacated.

               We start with the articulated basis for the district

  court's decision: that Haidak leads to the conclusion that the

  requirement for quasi-cross-examination in real time is inherent

  in the Massachusetts law requirement of basic fairness.5              Haidak,

  which involved a public university and the federal due process

  clause, was concerned with a different claim.          933 F.3d at 65.       It


          5 We do not decide whether BC in fact violated                      the
  requirements described in Haidak. 933 F.3d at 71-72.


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  does not govern this Massachusetts state law issue and provides no

  basis to depart from the Massachusetts cases we describe below.

  BC is not a public university or a government actor and is not

  subject to due process requirements.

              Indeed, the highest court of Massachusetts, the Supreme

  Judicial Court (SJC), has been explicit that a private university

  need not comply with federal due process to meet the basic fairness

  requirement in disciplining students.          Schaer, 735 N.E.2d at 381

  (private university not bound by due process clause); Coveney v.

  President & Trs. of Coll. of Holy Cross, 445 N.E.2d 136, 138-40

  (Mass. 1983) (holding that, where a private college expelled a

  student before any opportunity for disciplinary hearing, it was

  "clear that because the college is a private institution, [the

  student] had no constitutional right to a hearing").

              Existing Massachusetts law does not support the district

  court's conclusion for several reasons. Doe concedes that no state

  case   imposes    the   requirement     he   seeks.       Importantly,     no

  Massachusetts state decision has ever found the requirements the

  district court here imposed to be a necessary part of the basic

  fairness requirement.       In Schaer, a private university found a

  student responsible for sexual misconduct after a disciplinary

  process that did not allow the accused student to give any input

  during the investigation and admitted testimony that would have

  been excluded in a court proceeding.         735 N.E.2d at 378, 380.      The


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  SJC held that these procedures provided basic fairness.                Id. at

  381.   In Coveney, the private college's student handbook was clear

  that an accused student was not entitled to a hearing before the

  imposition of disciplinary sanctions.          445 N.E.2d at 140.     Because

  the student's offending conduct was undisputed, and because the

  college had no contractual obligation to provide a hearing process,

  the SJC held that the college's disciplinary decision was not

  arbitrary     or   capricious   and    did    not   violate   the   student's

  contractual rights.      Id. at 139-40.

                Massachusetts case law has also clearly approved school

  disciplinary procedures which did not involve any opportunity for

  the accused student to pose questions to be addressed to the

  accuser, through surrogates or directly, much less to do so in

  "real time."       See Driscoll v. Bd. of Trs. of Milton Acad., 873

  N.E.2d 1177, 1187 (Mass. App. Ct. 2007).

                In Driscoll, the Massachusetts Appeals Court held that

  a private school's expulsion of a seventeen-year-old student for

  serious sexual misconduct with a younger student did not violate

  the basic fairness provision when the school followed procedures

  much less rigorous that those followed by BC.               Id.   When school

  administrators learned of the misconduct, they met with the younger

  student and her parents and asked the younger student to produce

  a   written    statement,   which     she   wrote   after   the   meeting   and

  submitted the following day.        Id. at 1182.      School administrators


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  informed the accused student of the allegations against him the

  day    after      they    received      the   younger     student's     statement   and

  immediately told him to produce a written statement, which he did.

  Id.    The school did not give him an opportunity to seek advice or

  counsel of any kind.             Id.    The school expelled the accused student

  the next day without giving him any access to the evidence against

  him.        Id.      These approved procedures did not come close to

  including the quasi-cross-examination in real time requirement

  found necessary by the district court.                  See id. at 1187.

                 Nor      have     the    federal   courts     required    quasi-cross-

  examination        in     real    time    when    applying    Massachusetts     basic

  fairness law.            This court in Doe v. Trustees of Boston College,

  892 F.3d 67, 88 (1st Cir. 2018), concerning an earlier version of

  BC's       conduct    code,      held    that,    where    the   school's    policies

  themselves state a requirement of basic fairness, a failure to

  follow those policies could give rise to a claim.6                       Although the

  disciplinary procedures then in effect at BC provided for a live

  hearing at which each side could put questions to the witnesses



         6   Doe also held that, under Massachusetts law, "whenever
  a school expressly promises no less than basic fairness, . . . the
  school's implied duty [of basic fairness] becomes superfluous and
  the court's analysis to ensure that the disciplinary proceedings
  were 'conducted with basic fairness' focuses on assuring
  compliance with the express contractual promise." 892 F.3d at 88
  (quoting Cloud, 720 F.2d at 725) (emphasis added). In this case,
  the Code stated that it "exists to . . . assure fundamental
  fairness."


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  and parties through a hearing chairperson, nothing in Doe suggested

  that basic fairness required that procedure, and Doe has conceded

  that his claim does not require there be a hearing.                 To be clear,

  no party asserts that a school's mere adherence to its policies

  itself resolves a basic fairness claim.

                  Further, the finding of probability of success did not

  respect the deference Massachusetts law requires as to the choices

  of     student     discipline    proceedings     made    by   private     academic

  institutions.        Massachusetts law is clear that "[w]e adhere to the

  principle that courts are chary about interfering with academic

  and     disciplinary        decisions    made    by     private    colleges    and

  universities."         Schaer, 735 N.E.2d at 381 (internal quotation

  omitted).        "A college must have broad discretion in determining

  appropriate sanctions for violations of its policies."                    Coveney,

  445 N.E.2d at 139.           Massachusetts law permits its colleges and

  universities flexibility to adopt diverse approaches to student

  discipline        matters    that   do    not    meet    federal    due    process

  requirements.7

                  Federal courts are not free to extend the reach of state

  law.        See Erie R. Co. v. Tompkins, 304 U.S. 64, 78 (1938) (federal

  courts must apply state law as "declared by its Legislature in a



          7 Fourteen private Massachusetts institutions of higher
  education have filed a brief as amici curiae, which describes these
  varying approaches.


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  statute or by its highest court in a decision"); Braga v. Genlyte

  Grp., Inc., 420 F.3d 35, 42 (1st Cir. 2005).           When applying state

  law, "we will take care not to extend state law beyond its well-

  marked boundaries in an area . . . that is quintessentially the

  province of state courts," Markham v. Fay, 74 F.3d 1347, 1356 (1st

  Cir. 1996), and must exercise considerable caution when even

  considering the adoption of a new application, Doyle v. Hasbro,

  Inc., 103 F.3d 186, 192 (1st Cir. 1996).           A litigant who chooses

  federal court over state court "cannot expect this court 'to . . .

  blaze new and unprecedented jurisprudential trails'" as to state

  law.   A. Johnson & Co. v. Aetna Cas. & Sur. Co., 933 F.2d 66, 73

  n.10 (1st Cir. 1991) (quoting Kotler v. Am. Tobacco Co., 926 F.2d

  1217, 1224 (1st Cir. 1990)).       Rather, this court "must take state

  law as it finds it: 'not as it might conceivably be, some day; nor

  even as it should be.'"       Kassel v. Gannett Co., 875 F.2d 935, 950

  (1st Cir. 1989) (quoting Plummer v. Abbott Labs., 568 F. Supp.

  920, 927 (D.R.I. 1983)).

              This limited role of federal courts in matters of state

  policy respects the design of our federal system, which allows a

  "state [to], if its citizens choose, serve as a laboratory; and

  try novel social and economic experiments without risk to the rest

  of the country."     New State Ice Co. v. Liebmann, 285 U.S. 262, 311

  (1932) (Brandeis, J., dissenting).          We give particular respect to

  state regulation of education, an area in which our "lack of


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  specialized knowledge and experience counsels against premature

  interference with the informed judgments made at the state and

  local levels."     San Antonio Indep. Sch. Dist. v. Rodriguez, 411

  U.S. 1, 42 (1973).

              Whether   Massachusetts     in   the   future    will   wish   to

  redefine the requirements of contractual basic fairness in college

  and university discipline matters poses important policy choices

  for the Supreme Judicial Court and/or state legislature to make.

                                      III.

              There is no need to say more.          We reverse, vacate the

  grant of preliminary injunction, and remand to the district court

  for any further proceedings, consistent with this opinion.                 No

  costs are awarded.




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